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  8                          UNITED STATES BANKRUPTCY COURT
                              CENTRAL DISTRICT OF CALIFORNIA
  9                                LOS ANGELES DIVISION

 10   In re:                                           )   Case No.: 2:22-bk-10266-BB
 11                                                    )
      ESCADA AMERICA LLC,                              )   Chapter 11 Case
 12                                                    )
                Debtor and Debtor in Possession.       )   DEBTOR’S NOTICE OF AND MOTION
 13                                                    )   FOR AN ORDER EXTENDING THE
                                                           DEBTOR’S EXCLUSIVE PERIODS TO
                                                       )   FILE A CHAPTER 11 PLAN AND
 14                                                    )   OBTAIN ACCEPTANCES THEREOF;
 15                                                    )   MEMORANDUM AND AUTHORITIES
                                                       )   IN SUPPORT THEREOF;
 16                                                    )   DECLARATION OF KEVIN WALSH IN
                                                           SUPPORT THEREOF
                                                       )
 17                                                    )
                                                           Hearing:
                                                       )
 18                                                        Date: June 15, 2022
                                                       )
                                                           Time: 10:00 a.m.
 19                                                    )
                                                           Place: Courtroom 1539
                                                       )
                                                                  255 East Temple Street
 20                                                    )
                                                                  Los Angeles, CA 90012
                                                       )
 21                                                    )
                                                           Hearing to be held in-person and by video-
                                                       )
 22                                                        conference Government Zoom, see Court’s
                                                       )
                                                           website under “Telephonic Instructions” for
 23                                                    )
                                                           more details:
                                                       )
                                                           https://www.cacb.uscourts.gov/judges/honor
 24                                                    )
                                                           able-sheri-bluebond
                                                       )
 25                                                    )
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  1             PLEASE TAKE NOTICE that a hearing will be held on June 15, 2022, at 10:00 a.m.

  2    before the Honorable Sheri Bluebond, United Stated Bankruptcy Judge for the Central District

  3    of California, in Courtroom 1539 located at 255 East Temple Street, Los Angeles, California

  4    90012 for the Court to consider approval of this motion (“Motion”) filed by Escada America

  5    LLC, the debtor and debtor-in-possession in the above referenced chapter 11 bankruptcy case
  6    (the “Debtor”), for the entry of an order extending the exclusivity period for the Debtor to file a
  7    plan of reorganization to and including August 16, 2022 (the “Proposed Plan Exclusivity
  8    Period”), and extending the exclusivity period for the Debtor to obtain acceptance thereof to and
  9    including October 15, 2022 (the “Proposed Solicitation Exclusivity Period”).1
 10             PLEASE TAKE FURTHER NOTICE that this Motion is based upon Rule 9013-1 of
 11    the Local Bankruptcy Rules for the Central District of California (“LBR”), Rule 9013 of the
 12    Federal Rules of Bankruptcy Procedure (“FRBP”), 11 U.S.C. §§ 105(a) and 1121, this Motion,
 13    the supporting Memorandum of Points and Authorities, the annexed Declaration of Kevin Walsh
 14    (the “Declaration”), the arguments and statements of counsel to be made at the hearing on this
 15    Motion, and other admissible evidence properly brought before the Court.
 16             The Debtor respectfully submits that “cause” exists to extend the Current Exclusivity
 17    Periods for several reasons, as explained in greater detail in the annexed memorandum of points
 18    and authorities Most notably, the trajectory of the case was greatly complicated by contested
 19    matter of whether the Debtor was eligible for subchapter V, which added uncertainty to most of
 20    the original 120-day plan exclusivity period, and which was resolved only on May 4, 2022.
 21    Nonetheless, the Debtor still worked diligently and filed its chapter 11 plan and disclosure
 22    statement on May 12, 2022 (within the original 120-day plan exclusivity period), and has set it
 23    for hearing on June 22, 2022. However, the Debtor will need time to work on this Plan with
 24    input from an official committee of unsecured creditors, if and when formed (which is expected
 25
       1
 26      The requested extensions are for a period of ninety (90) days each. Currently, the exclusivity period for the
       Debtor to file a plan of reorganization (the “Current Plan Exclusivity Period”) and obtain acceptance thereof (the
 27    “Current Solicitation Exclusivity Period” together with the Current Plan Exclusivity Period, the “Current
       Exclusivity Periods”) expires on May 18, 2022 and July 17, 2022, respectively.
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  1    to happen shortly after the original 120-day exclusivity period would end, if not extended by

  2    Court order). The Debtor is operating in good faith, current on its administrative expenses, and

  3    in compliance with all of the material requirements of administering its estate. This is the

  4    Debtor’s first request for an extension of its exclusivity periods under 11 U.S.C. § 1121, and the

  5    request is made in good faith and not for the purpose of pressuring creditors into acceding to

  6    certain plan terms. The Debtor is not aware of any creditor whose claim or interest would be

  7    adversely affected or impaired by the granting of the relief requested herein.

  8           PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rule 9013-

  9    1(f), any opposition to this Motion must be filed with the Clerk of the United States Bankruptcy

 10    Court and served upon the United States Trustee as well as counsel for the Debtor at the address

 11    located in the upper left-hand corner of the first page of this Notice and Motion by no later than

 12    fourteen (14) days before the hearing on this Motion.

 13           PLEASE TAKE FURTHER NOTICE that the failure to file and serve a timely

 14    response to this Motion may be deemed by the Court to be consent to the granting of the relief

 15    requested in this Motion.

 16           PLEASE TAKE FURTHER NOTICE that the failure to file and serve a timely

 17    response to this Motion may be deemed by the Court to be consent to the granting of the relief

 18    requested in this Motion.

 19           WHEREFORE, the Debtor respectfully requests that this Court enter an order:
              (a) granting the Motion;
 20

 21           (b)    affirming the adequacy of the notice given;

 22           (c)    entering an order in substantially the form attached as Exhibit 1 hereto;

 23           (c)    extending the Current Plan Exclusivity Period to and including August 16, 2022,
 24
       without prejudice to the Debtor’s right to request additional extensions;
 25
              (d)    extending the Current Solicitation Exclusivity Period to and including October 15,
 26
       2022, without prejudice to the Debtor’s right to request additional extensions; and
 27
       ///
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  1          (e)   granting such other and further relief as the Court deems just and proper.
  2

  3    Dated: May 17, 2022                ESCADA AMERICA
                                              DA A ME
                                                   MERI  C LLC
                                                      RIICA LC
                                                            L C

  4                                       By: __________________________
                                               ____
                                                _ ________
                                                        ____
                                                           _____________
                                                JOHN-PATRICK
                                                JO
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                                                    N PATRICK M. FRITZ
                                                                     FRIT
  5                                             JONATHAN D.   D GOTTLIEB
                                                                GOTTLIE
                                                LEVENE, NEALE, BENDER,
  6                                             YOO & GOLUBCHIK L.L.P.
  7                                             Attorneys for Chapter 11
                                                Debtor and Debtor in Possession
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  1                       MEMORANDUM OF POINTS AND AUTHORITIES

  2                                    I.     STATEMENT OF FACTS

  3    A.     Case Background.
  4           1.     The Debtor commenced its bankruptcy case by filing a voluntary petition under
  5    chapter 11 of the Bankruptcy Code on January 18, 2022 (the “Petition Date”). The Debtor
  6    continues to manage its financial affairs, operate its business, and administer its bankruptcy
  7    estate as a debtor in possession.
  8           2.     The Debtor was formed as a Delaware limited liability company in 2009. The
  9    Debtor is a national specialty retailer selling high-end, ready-to-wear women’s apparel with its
 10    main office in Beverly Hills, California, an office New York City, New York, and, as of the
 11    Petition Date, ten (10) retail stores across seven (7) states in the United States, and over 50
 12    fulltime employees. As part of its first-day motions, the Debtor rejected five (5) leases, and is
 13    now operating at five leased locations with approximately 4 employees in its corporate office
 14    and 29 employees in stores.
 15           3.     The Debtor’s retail business is generally known to the public and branded as
 16    “Escada.” The Debtor uses the “Escada” brand via a license agreement and does not own any
 17    intellectual property rights in connection with the “Escada” brand. For several decades, Escada
 18    had been a global retail brand for high-fashion, high-end, ready-to-wear apparel for women,
 19    with an emphasis on high-fashion evening wear. On a global scale, Escada has various retail
 20    stores and subsidiaries in several countries in Europe, including but not limited to Spain,
 21    England and Germany. Escada also has retail stores in North America, including the Debtor,
 22    which operates Escada’s brick-and-mortar retail business only in the United States.
 23           4.     By 2019, the Escada business on a global scale was in deep distress and could not
 24    continue. At that time, the Debtor, together with other subsidiaries of Escada’s then-parent
 25    company, was acquired by new ownership (which is now the current ownership and
 26    management). At the time of the acquisition of Debtor in 2019, Escada had 29 subsidiaries in
 27    22 countries, all of which were financially distressed. In December 2019, the Debtor devised
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  1    and began implementation of a plan to turn around the United States Escada retail business.

  2    Debtor believed that the business could be operated at a profit if fundamental business-model

  3    changes were implemented, such as overhauling the Debtor’s technological suite and reducing

  4    speed to market by shifting supply chains from Asia to Europe. Debtor’s turnaround plan was

  5    also contingent upon Debtor’s ability to sell product at Debtor’s physical locations because

  6    ecommerce sales were minimal. However, what was not – and could not be – known at the time

  7    of the acquisition in November 2019, was that an unprecedented, global, catastrophic, and life-

  8    changing event with severe economic consequences was on the immediate horizon – the Covid-

  9    19 pandemic.

 10            5.      In December 2019, just one month after the acquisition and just as the Debtor’s

 11    transformation plan was being put into effect, the novel corona virus, known to us now as Covid-

 12    19, was quietly spreading in certain regions of Asia, unbeknownst to the rest of the world. From

 13    December 2019 through February 2020, the Debtor prepared to implement a number of

 14    business-model and operational changes. However, in March 2020, the world drastically

 15    changed, and set the Debtor on course for this current bankruptcy filing. On or about March 15,

 16    2020, the City of Los Angeles declared a state of emergency with shelter in place orders. In the

 17    following days, many business and financial centers across the United States came to a near

 18    total standstill as the nation was gripped by the Covid-19 crisis. In the span of just 12 days, all

 19    fifteen (15) of the Debtor’s then-active stores in eight (8) States were shuttered due to lockdown

 20    restrictions.

 21            6.      In late March 2020, the United States federal government responded with historic

 22    economic aid, passing the CARES Act and providing approximately $3 trillion of stimulus to

 23    the economy, which may have bolstered the stock market’s recovery, but such economic

 24    stimulus did nothing to help retail businesses such as the Debtor, which rely on foot traffic from

 25    customer shopping in stores to generate sales. Unfortunately, the Debtor was not eligible for

 26    any of these stimulus payments and was left with no support during these unprecedented times.

 27    In addition, as long as the pandemic lockdowns continued and stores remained closed, or

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  1    shoppers refrained from shopping due to deep concerns about their health and safety, the Covid-

  2    19 recession for retail businesses would continue.

  3           7.     From March 2020 to December 2021, the Debtor reduced its overhead expenses

  4    by an estimated $13,383,037.40 and entered into negotiations with its commercial landlords for

  5    rent relief at all store locations. Nonetheless, the 21 months leading up to the Debtor’s petition

  6    date were a marked state of tremendous uncertainty for the world’s health and economic affairs

  7    brought on by an unprecedented pandemic, followed by an unprecedented recession, then

  8    unprecedented trillions of dollars of government aid, none of which has prevented the ongoing

  9    uncertainty posed by Covid-19 variants and the attendant on-again-off-again lockdowns across

 10    the nation and around the world, all of which made business in the current economic

 11    environment very difficult.

 12           8.     The Debtor negotiated workouts with some, but not all, of its various landlords

 13    during 2020 and 2021, but with the consequences of the Covid-19 pandemic that Debtor was

 14    forced to file bankruptcy to restructure its business affairs. The Debtor could not survive

 15    ongoing litigation with these landlords and the attendant litigation costs and potential liability

 16    for breach of those leases. Accordingly, the Debtor determined that it was in the best interest of

 17    its estate to file this current bankruptcy case to preserve the going-concern value of its business

 18    and save the jobs of its employees.

 19    B.     Redesignation of the Bankruptcy Case From a Case Under Subchapter V To a
 20           Traditional Chapter 11 Bankruptcy Case.

 21
              9.     The Debtor commenced its bankruptcy case as a subchapter V case, which
 22
       requires a plan to be filed within the first 90 days of the Petition Date, unless the Court extends
 23
       the deadline for reasons for which the Debtor should not justly be held accountable.
 24
       Accordingly, shortly after the first date of the 341 Meeting, the Debtor, through counsel,
 25
       engaged in extensive and continuous discussions with some its largest creditors (717 GFC LLC,
 26
       Simon Property Group, Brookfield Properties Retail, and BW Hotel LLC) (collectively, the
 27
       “Creditors”) in an attempt to formulate a consensual plan of reorganization.
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  1           10.    On March 16, 2022, creditors Brookfield Properties Retail, Inc., Simon Property

  2    Group, Inc., and certain of their respective affiliates, filed their Objection of Simon Property

  3    Group and Brookfield Properties Retail to Debtor’s Subchapter V Election or, Alternatively,

  4    Motion for Appointment of an Official Committee of Unsecured Creditors (the “Election

  5    Motion”) [Dkt. 103].
  6           11.    On March 23, 2022, 717 GFC LLC filed its joinder to the Election Motion.
  7           12.    Later in the day on March 23, 2022, the Debtor filed its opposition to the Election
  8    Motion.
  9           13.    The Debtor and the Creditors continued their settlement negotiations and
 10    discussions in attempts to formulate a consensual plan, at times with the participation of the
 11    subchapter V trustee. Between March 29, 2022, and April 19, 2022, the Debtor and the Creditors
 12    entered into multiple stipulations to continue the hearing on the Election Motion and the
 13    Debtor’s cash collateral motion while settlement talks continued, with the hearings rescheduled
 14    for May 11, 2022.
 15           14.    The stipulations between the parties included a request that the Court extend the
 16    90-day deadline for the Debtor to file its subchapter V plan from April 18, 2022, to May 2, 2022,
 17    which the Court granted at a status conference held on April 6, 2022 [Dkt. 132].
 18           15.    On April 21, 2022,2 the Office of the United States Trustee filed its “United States
 19    Trustee’s Notice of Motion and Motion Objecting to Debtor’s Subchapter V Designation” (the
 20    “Designation Motion”) [Dkt. 145], which was set for hearing on June 1, 2022.
 21           16.    On May 2, 2022, the Debtor timely filed its subchapter V plan (the “Subchapter
 22    V Plan”) [Dkt. 148].
 23           17.    Central to the framework and key deal terms for the Subchapter V Plan were the
 24    necessity of minimizing administrative expenses and confirming a plan in a short timeframe to
 25

 26
       2
         April 21, 2022, was the last day of the 30-day period to object to the subchapter V
 27    designation, measured by 30 days from the conclusion of the meeting of creditors under 11
       U.S.C. § 341 on March 22, 2022.
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  1    accelerate payment to general unsecured creditors, with the first payment in the lump sum of

  2    $1,400,000 paid by early August 2022.

  3           18.      The Debtor, creditors, and the entire estate were at risk of a month of meaningless

  4    delay and mounting administrative costs between the filing of the Subchapter V Plan on May 2,

  5    2022, and the UST’s Designation Motion not set for hearing until June 1, 2022.

  6           19.      Rather than lose a month of time while running up administrative costs litigating

  7    the UST’s Designation Motion, on May 4, 2022, the Debtor filed its amended petition to un-

  8    elect the subchapter V designation and designate its case as one under chapter 11, but no longer

  9    subchapter V.

 10           20.      At the chapter 11 status conference on May 11, 2022, the Debtor raised the

 11    possibility of the Court conditionally approving a disclosure statement with a combined hearing

 12    on final approval of the disclosure statement and plan confirmation; however, the Court

 13    indicated that such a request would likely not be granted.

 14           21.      On May 12, 2022, the Debtor filed its chapter 11 plan (the “Plan”) [Dkt. 160] and

 15    disclosure statement (the “Disclosure Statement”) [Dkt. 161].
 16           22.      On May 13, 2022, the Court entered an order setting the hearing on the adequacy
 17    of the Disclosure Statement for June 22, 2022 [Dkt. 167].
 18           23.      As reported by the Debtor to the Court at the chapter 11 status conference hearing
 19    held on May 11, 2022, the Subchapter V Plan and the current Plan were designed to be
 20    potentially consensual plans.
 21           24.      The exclusive period for the Debtor to file a plan of reorganization expires on May
 22    18, 2022 (the “Current Plan Exclusivity Period”) and the exclusive period for the Debtor to
 23    obtain acceptance of a plan of reorganization expires July 17, 2022 (the “Current Solicitation
 24    Exclusivity Period,” and, together with the Current Plan Exclusivity Period, the “Current
 25    Exclusivity Periods”), respectively, unless otherwise extended by order of the Court.
 26           25.      If the Court hears and approves the adequacy of the Disclosure Statement on June
 27    22, 2022, a plan confirmation hearing would likely not be held until at least August 3, 2022,
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  1    accounting for 28 days’ opportunity to vote and file objections pursuant to FRBP 2002(b), seven

  2    days thereafter for the Debtor to file a confirmation brief, and seven days thereafter for a plan

  3    confirmation hearing. By that time, the Current Plan Exclusivity Periods will have expired.

  4           26.    The Debtor respectfully submits that good cause exists to extend the exclusivity

  5    period for the Debtor to file a plan of reorganization and obtain acceptance thereof to and

  6    including August 16, 2022 (the “Proposed Plan Exclusivity Period”), and to and including

  7    October 15, 2022 (the “Proposed Solicitation Exclusivity Period”), as requested herein.
  8                                          II.     DISCUSSION
  9    A.    The Court Has Authority To Extend The Debtor’s Exclusive Period To File A Plan
 10          Of Reorganization And Obtain Acceptances Thereof.

 11           Pursuant to Section 1121(b) and (c)(3) of the Bankruptcy Code, a chapter 11 debtor has

 12    the exclusive right, for a period of 120 days following the filing of the petition, to file a plan of
 13
       reorganization, and thereafter obtain acceptances to any plan so filed for a period of an additional
 14
       60 days.
 15
              Sections 1121(d) of the Bankruptcy Code allows the Court to extend or reduce these
 16
       time periods for cause. Section 1121(d) provides, in pertinent part as follows:
 17

 18                  (d)(1) Subject to paragraph (2), on request of a party in interest made
                     within the respective periods specified in subsections (b) and (c) of
 19                  this section and after notice and a hearing, the court may for cause
                     reduce or increase the 120-day period [exclusivity period for filing
 20                  a plan of reorganization] or the 180-day period [exclusivity period
                     for obtaining acceptances of the plan] referred to in this section.
 21

 22                    (2)(A) The 120-day period specified in paragraph (1) may not be
                     extended beyond a date that is 18 months after the date of the order
 23                  for relief
 24                      (B) The 180-day period specified in paragraph (1) may not be
 25                  extended beyond a date that is 20 months after the date of the order
                     for relief under this chapter.
 26

 27    11 U.S.C. § 1121(d)(1) and (2)

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  2          The decision of whether to grant a request to extend or shorten the exclusivity periods lie

  3    within the sound discretion of the bankruptcy judge. In re Amko Plastics, Inc., 197 B.R. 74, 77

  4    (Bankr. S.D. Ohio 1996); In re Gibson & Cushman Dredging Corp., 101 B.R. 405, 409 (Bankr.

  5    E.D.N.Y. 1989). The “cause” standard referred to in Section 1121 has been referred to as a

  6    general standard that allows the bankruptcy court “maximum flexibility to suit various types of

  7    reorganization proceedings.” In re Public Service Company of New Hampshire, 88 B.R. 521,

  8    534 (Bankr. D.N.H. 1988).

  9          The Bankruptcy Code does not define “cause” or establish formal criteria for extensions

 10    of the exclusivity periods. Consistent with a balanced, integrated approach to reorganizations

 11    under chapter 11, Congress contemplated that bankruptcy courts would apply the exclusivity

 12    provisions flexibly so as to promote the orderly, consensual and successful reorganization of a

 13    debtors affairs. See H.R. Rep. No. 95-595, 95th Cong., 1st Sess. 220, 232 (1977) [hereinafter

 14    “House Report”]. Appropriate “cause” justifying extensions of the exclusivity periods should
 15    be interpreted in the context of the overall purpose of chapter 11 and the means Congress
 16    established for accomplishing them. Congress recognized that a debtor must have a reasonable
 17    time to formulate and negotiate a plan of reorganization. Denying a debtor an exclusive period
 18    to propose and confirm a plan could dissuade a debtor from choosing chapter 11 and encourage
 19    creditors to act unilaterally. House Report at 231-32. See also, In re Pine Run Trust, Inc., 67
 20    B.R. 432, 434 (Bankr. E.D. Pa. 1936) (exclusivity determinations should balance creditor and
 21    debtor interests in favor of reorganization).
 22           The “cause” standard referred to in Section 1121 has been referred to as a general
 23    standard that allows the bankruptcy court “maximum flexibility to suit various types of
 24    reorganization proceedings.” In re Public Service Company of New Hampshire, 88 B.R. 521,
 25    534 (Bankr.D.N.H.1988).
 26          It is common for courts to grant more than one extension of the exclusive periods to file
 27    and gain acceptance of chapter 11 plans. See, e.g., Gaines v. Perkins (In re Perkins), 71 B.R.
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  1    294 (W.D.Tenn.1987) (affirming bankruptcy court’s approval of multiple extensions); In re

  2    Express One Int’l, Inc., 194 B.R. 98 (Bankr.E.D.Tex.1996) (granting multiple extensions); In re

  3    Pine Run Trust, Inc., 67 B.R. 432 (Bankr.E.D.Pa.1986) (granting second exclusivity); see also
  4    Williamette Water Front, Ltd. v. Victoria Station, Inc. (In re Victoria Station, Inc.), 88 B.R. 231
  5    (9th Cir.B.A.P.1988) (in allowing multiple extensions of time to assume or reject unexpired
  6    nonresidential leases pursuant to section 365(d)(4), the BAP noted that the allowance of such
  7    multiple extensions is supported by, among other things, other courts’ allowance of multiple
  8    extensions of exclusivity periods)(citations omitted), aff’d, 875 F. 2d 1380 (9th Cir.1989).
  9           Among the factors to be considered in finding “cause” to extend the exclusivity periods
 10    are: (i) the size and complexity of the case (Grand Traverse Devel. Co. Ltd. Partnership, 147
 11    B.R. 418, 420 (Bankr.W.D.Mich.1992)); (ii) whether a debtor is attempting in good faith to
 12    formulate a viable plan and the degree of progress that has been achieved by the debtor in the
 13    Chapter 11 process (In re Jasick, 727 F.2d 1379 (5th Cir.1984), reh’g denied, 731 F.2d 888 (5th
 14    Cir.1984)); and (iii) a debtor’s satisfaction of its post-petition obligations as they come due (In
 15    re McLean Indus., Inc., 87 B.R. 830, 834 (Bankr.S.D.N.Y.1987)). While the foregoing are some
 16    of the most common factors, a court has discretion to consider others. See, e.g., Express One,
 17    194 B.R. at 100. For example, the diligence of management and proper administration of the
 18    case is a factor that weighs in favor of an extension of the plan exclusivity periods. See, In re
 19    United Press International, 60 B.R. 265 (Bankr.D.D.C. 1986); In re Trainer’s, Inc., 17 B.R. 246,
 20    247 (Bankr.E.D.Pa.1982).
 21

 22    B.    Good Cause Exists to Grant the Debtor’s Request to Extend the Exclusivity
             Periods for the Debtor to File a Plan of Reorganization and Obtain
 23          Acceptance Thereof
 24          (i)     Size and Complexity of the Case
 25           The Debtor’s case is not a “mega” case, but nor is it small (regardless of whether eligible
 26    for subchapter V). The Debtor has approximately $20 million of insider secured debt and nearly
 27    $20 million of general unsecured debt, and more than 200 creditors. Furthermore, the
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  1    reorganization is complex because of multiple retail lease locations, ongoing operations, and

  2    non-traditional assets in the form of import bonds to investigate and liquidate for implementing

  3    the Plan. Moreover, the trajectory of the case was greatly complicated by contested eligibility

  4    for subchapter V, which added uncertainty as to which reorganization scheme would apply to

  5    this estate. The Debtor requires an extension of the Current Exclusivity Periods to fairly address

  6    these numerous issues.

  7          (ii)    Efforts to Formulate and Confirm a Viable Plan of Reorganization
  8           After months of extensive negotiations with the largest non-insider general unsecured
  9    creditors in the case, the Debtor filed its Subchapter V Plan by the extended deadline of May 2,
 10    2022, then worked diligently to reformulate that plan into the current Plan, filed on May 12,
 11    2022 – both within the original 120-day Current Exclusivity Periods of § 1121. However, the
 12    Debtor will need time to work on this Plan with input from an official committee of unsecured
 13    creditors, if and when formed (which is expected to happen shortly after the original Current
 14    Exclusivity Periods would end, if not extended by Court order).
 15          (iii)   Post-Petition Obligations
 16           The Debtor is current with its non-professional fee/expenses post-petition obligations.
 17          (iv)    Diligence of Management and Proper Administration of the Case
 18           The Debtor has properly administered its Chapter 11 case in that the Debtor has complied
 19    with all of the material requirements of the Bankruptcy Code, the Federal Rules of Bankruptcy
 20    Procedure, and the UST. Under these circumstances, an extension of the exclusivity periods for
 21    filing and obtaining confirmation of a plan of reorganization can be granted with the confidence
 22    that the Debtor is in full compliance with the requirements that are a condition to the Debtor
 23    maintaining its exclusive right to file a plan of reorganization and gain acceptance thereof.
 24          (v)     Prior Requests to Extend Exclusivity Periods
 25           This is the Debtor’s first request to extend any of its plan exclusivity periods under 11
 26    U.S.C. § 1121, and the requested extension is within the limits set forth in 11 U.S.C. §
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  1    1121(d)(2). Courts commonly grant multiple extensions of the exclusivity periods. Therefore,

  2    this factor weighs in favor of extending the Debtor’s plan exclusivity periods.

  3          (vi)    The Purpose Behind the Debtor’s Request
  4           The Debtor’s request herein is being made in good faith and not for the purpose of
  5    pressuring creditors into acceding to certain plan terms. The Debtor is not aware of any creditor
  6    whose claim or interest would be adversely affected or impaired by the granting of the relief
  7    requested herein.
  8                                         III.   CONCLUSION
  9           WHEREFORE, the Debtor respectfully requests that this Court enter an order:
 10
              (a)    granting the Motion;
 11
              (b)    affirming the adequacy of the notice given;
 12
              (c)    entering an order substantially in the form as the proposed order attached as
 13

 14    Exhibit 1 hereto;

 15           (d)    extending the Current Plan Exclusivity Period to and including August 16, 2022,

 16    without prejudice to the Debtor’s right to request additional extensions;
 17
              (d)    extending the Current Solicitation Exclusivity Period to and including October 15,
 18
       2022, without prejudice to the Debtor’s right to request additional extensions; and
 19
              (f)    granting such other and further relief as the Court deems just and proper.
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 21
       Dated: May 17, 2022                  ESCADA AMERICA
                                                      RIICA LLC
                                                DA AMERI
                                                      R
 22

 23                                          By: ___________________________
                                                   ____
                                                     ______
                                                     __ ___
                                                         __________________
                                                    JOHN-PATRICK
                                                    JOH N PATRICK M. FRITZ
                                                     OHN-                FRIT
 24                                                 JONATHAN D. GOTTLIEB
 25                                                 LEVENE, NEALE, BENDER,
                                                    YOO & GOLUBCHIK L.L.P.
 26                                                 Attorneys for Chapter 11
                                                    Debtor and Debtor in Possession
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  1                               DECLARATION OF KEVIN WALSH

  2           I, Kevin Walsh, hereby declare as follows:

  3           1.     I have personal knowledge of the facts set forth below and, if called to testify,

  4    would and could competently testify thereto.

  5           2.     I am the Director of Finance for Escada America LLC, a Delaware limited liability

  6    company. (the “Debtor”), the debtor and debtor in possession in this chapter 11 bankruptcy case.

  7           3.     I am an experienced finance professional, having worked for the Debtor since

  8    2016 and with prior work experience at Fortune 500 companies including Johnson & Johnson

  9    (Controller/Director) and Pfizer (Finance Director).

 10           4.     I have reviewed and am familiar with and am knowledgeable about the books and

 11    records of the Debtor, which books and records are made in the regular practice of business,

 12    kept in the regular course of business, made by a person with knowledge of the events and

 13    information related thereto, and made at or near the time of events and information recorded.

 14           5.     I make this declaration in support of the Debtor’s “Motion For An Order

 15    Extending The Debtor’s Exclusive Periods To File A Chapter 11 Plan And Obtain Acceptances

 16    Thereof” (the “Motion”).

 17           6.     The Debtor commenced its bankruptcy case by filing a voluntary petition under

 18    chapter 11 of the Bankruptcy Code on January 18, 2022 (the “Petition Date”). The Debtor

 19    continues to manage its financial affairs, operate its business, and administer its bankruptcy

 20    estate as a debtor in possession.

 21           7.     The Debtor was formed as a Delaware limited liability company in 2009. The

 22    Debtor is a national specialty retailer selling high-end, ready-to-wear women’s apparel with its

 23    main office in Beverly Hills, California, an office New York City, New York, and, as of the

 24    Petition Date, ten (10) retail stores across seven (7) states in the United States, and over 50

 25    fulltime employees. As part of its first-day motions, the Debtor rejected five (5) leases, and is

 26    now operating at five leased locations with approximately 4 employees in its corporate office

 27    and 29 employees in stores.

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  1           8.      The Debtor’s retail business is generally known to the public and branded as

  2    “Escada.” The Debtor uses the “Escada” brand via a license agreement and does not own any

  3    intellectual property rights in connection with the “Escada” brand. For several decades, Escada

  4    had been a global retail brand for high-fashion, high-end, ready-to-wear apparel for women,

  5    with an emphasis on high-fashion evening wear. On a global scale, Escada has various retail

  6    stores and subsidiaries in several countries in Europe, including but not limited to Spain,

  7    England and Germany. Escada also has retail stores in North America, including the Debtor,

  8    which operates Escada’s brick-and-mortar retail business only in the United States.

  9           9.      By 2019, the Escada business on a global scale was in deep distress and could not

 10    continue. At that time, the Debtor, together with other subsidiaries of Escada’s then-parent

 11    company, was acquired by new ownership (which is now the current ownership and

 12    management). At the time of the acquisition of Debtor in 2019, Escada had 29 subsidiaries in

 13    22 countries, all of which were financially distressed. In December 2019, the Debtor devised

 14    and began implementation of a plan to turn around the United States Escada retail business.

 15    Debtor believed that the business could be operated at a profit if fundamental business-model

 16    changes were implemented, such as overhauling the Debtor’s technological suite and reducing

 17    speed to market by shifting supply chains from Asia to Europe. Debtor’s turnaround plan was

 18    also contingent upon Debtor’s ability to sell product at Debtor’s physical locations because

 19    ecommerce sales were minimal. However, what was not – and could not be – known at the time

 20    of the acquisition in November 2019, was that an unprecedented, global, catastrophic, and life-

 21    changing event with severe economic consequences was on the immediate horizon – the Covid-

 22    19 pandemic.

 23           10.     In December 2019, just one month after the acquisition and just as the Debtor’s

 24    transformation plan was being put into effect, the novel corona virus, known to us now as Covid-

 25    19, was quietly spreading in certain regions of Asia, unbeknownst to the rest of the world. From

 26    December 2019 through February 2020, the Debtor prepared to implement a number of

 27    business-model and operational changes with the goal of making the United States Escada retail

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  1    business profitable and correct the mistakes of its prior management and prior owners.

  2    However, in March 2020, the world drastically changed, and set the Debtor on course for this

  3    current bankruptcy filing. On or about March 15, 2020, the City of Los Angeles declared a state

  4    of emergency with shelter in place orders. In the following days, many business and financial

  5    centers across the United States came to a near total standstill as the nation was gripped by the

  6    Covid-19 crisis. In the span of just 12 days, all fifteen (15) of the Debtor’s then-active stores in

  7    eight (8) States were shuttered due to lockdown restrictions.

  8           11.    In late March 2020, the United States federal government responded with historic

  9    economic aid, passing the CARES Act and providing approximately $3 trillion of stimulus to

 10    the economy, which may have bolstered the stock market’s recovery, but such economic

 11    stimulus did nothing to help retail businesses such as the Debtor, which rely on foot traffic from

 12    customer shopping in stores to generate sales. Unfortunately, the Debtor was not eligible for

 13    any of these stimulus payments and was left with no support during these unprecedented times.

 14    In addition, as long as the pandemic lockdowns continued and stores remained closed, or

 15    shoppers refrained from shopping due to deep concerns about their health and safety, the Covid-

 16    19 recession for retail businesses would continue.

 17           12.    From March 2020 to December 2021, the Debtor reduced its overhead expenses

 18    by an estimated $13,383,037.40 and entered into negotiations with its commercial landlords for

 19    rent relief at all store locations. Nonetheless, the 21 months leading up to the Debtor’s petition

 20    date were a marked state of tremendous uncertainty for the world’s health and economic affairs

 21    brought on by an unprecedented pandemic, followed by an unprecedented recession, then

 22    unprecedented trillions of dollars of government aid, none of which has prevented the ongoing

 23    uncertainty posed by Covid-19 variants and the attendant on-again-off-again lockdowns across

 24    the nation and around the world, all of which made business in the current economic

 25    environment very difficult.

 26           13.    The Debtor negotiated workouts with some, but not all, of its various landlords

 27    during 2020 and 2021, but with the consequences of the Covid-19 pandemic that Debtor was

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  1    forced to file bankruptcy to restructure its business affairs. The Debtor could not survive

  2    ongoing litigation with these landlords and the attendant litigation costs and potential liability

  3    for breach of those leases. Accordingly, the Debtor determined that it was in the best interest of

  4    its estate to file this current bankruptcy case to preserve the going-concern value of its business

  5    and save the jobs of its employees.

  6           14.    The Debtor commenced its bankruptcy case as a subchapter V case, which

  7    requires a plan to be filed within the first 90 days of the Petition Date, unless the Court extends

  8    the deadline for reasons for which the Debtor should not justly be held accountable.

  9    Accordingly, shortly after the first date of the 341 Meeting, the Debtor, through counsel,

 10    engaged in extensive and continuous discussions with some its largest creditors (717 GFC LLC,

 11    Simon Property Group, Brookfield Properties Retail, and BW Hotel LLC) (collectively, the

 12    “Creditors”) in an attempt to formulate a consensual plan of reorganization.

 13           15.    On March 16, 2022, creditors Brookfield Properties Retail, Inc., Simon Property
 14    Group, Inc., and certain of their respective affiliates, filed their Objection of Simon Property
 15    Group and Brookfield Properties Retail to Debtor’s Subchapter V Election or, Alternatively,
 16    Motion for Appointment of an Official Committee of Unsecured Creditors (the “Election
 17    Motion”) [Dkt. 103].
 18           16.    On March 23, 2022, 717 GFC LLC filed its joinder to the Election Motion.
 19           17.    Later in the day on March 23, 2022, the Debtor filed its opposition to the Election
 20    Motion.
 21           18.    The Debtor and the Creditors continued their settlement negotiations and
 22    discussions in attempts to formulate a consensual plan, at times with the participation of the
 23    subchapter V trustee. Between March 29, 2022, and April 19, 2022, the Debtor and the Creditors
 24    entered into multiple stipulations to continue the hearing on the Election Motion and the
 25    Debtor’s cash collateral motion while settlement talks continued, with the hearings rescheduled
 26    for May 11, 2022.
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  1           19.      The stipulations between the parties included a request that the Court extend the

  2    90-day deadline for the Debtor to file its subchapter V plan from April 18, 2022, to May 2, 2022,

  3    which the Court granted at a status conference held on April 6, 2022 [Dkt. 132].

  4           20.      On April 21, 2022,3 the Office of the United States Trustee filed its “United States

  5    Trustee’s Notice of Motion and Motion Objecting to Debtor’s Subchapter V Designation” (the
  6    “Designation Motion”) [Dkt. 145], which was set for hearing on June 1, 2022.
  7           21.      On May 2, 2022, the Debtor timely filed its subchapter V plan (the “Subchapter
  8    V Plan”) [Dkt. 148].
  9           22.      Central to the framework and key deal terms for the Subchapter V Plan were the
 10    necessity of minimizing administrative expenses and confirming a plan in a short timeframe to
 11    accelerate payment to general unsecured creditors, with the first payment in the lump sum of
 12    $1,400,000 paid by early August 2022.
 13           23.      The Debtor, creditors, and the entire estate were at risk of a month of meaningless
 14    delay and mounting administrative costs between the filing of the Subchapter V Plan on May 2,
 15    2022, and the UST’s Designation Motion not set for hearing until June 1, 2022.
 16           24.      Rather than lose a month of time while running up administrative costs litigating
 17    the UST’s Designation Motion, on May 4, 2022, the Debtor filed its amended petition to un-
 18    elect the subchapter V designation and designate its case as one under chapter 11, but no longer
 19    subchapter V.
 20           25.      At the chapter 11 status conference on May 11, 2022, the Debtor raised the
 21    possibility of the Court conditionally approving a disclosure statement with a combined hearing
 22    on final approval of the disclosure statement and plan confirmation; however, the Court
 23    indicated that such a request would likely not be granted.
 24           26.      On May 12, 2022, the Debtor filed its chapter 11 plan (the “Plan”) [Dkt. 160] and
 25    disclosure statement (the “Disclosure Statement”) [Dkt. 161].
 26
       3
         April 21, 2022, was the last day of the 30-day period to object to the subchapter V
 27    designation, measured by 30 days from the conclusion of the meeting of creditors under 11
       U.S.C. § 341 on March 22, 2022.
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  1           27.   On May 13, 2022, the Court entered an order setting the hearing on the adequacy

  2    of the Disclosure Statement for June 22, 2022 [Dkt. 167].

  3           28.   As reported by the Debtor to the Court at the chapter 11 status conference hearing

  4    held on May 11, 2022, the Subchapter V Plan and the current Plan were designed to be

  5    potentially consensual plans.

  6           29.   The exclusive period for the Debtor to file a plan of reorganization expires on May

  7    18, 2022 (the “Current Plan Exclusivity Period”) and the exclusive period for the Debtor to

  8    obtain acceptance of a plan of reorganization expires July 17, 2022 (the “Current Solicitation
  9    Exclusivity Period,” and, together with the Current Plan Exclusivity Period, the “Current
 10    Exclusivity Periods”), respectively, unless otherwise extended by order of the Court.
 11           30.   If the Court hears and approves the adequacy of the Disclosure Statement on June
 12    22, 2022, a plan confirmation hearing would likely not be held until at least August 3, 2022,
 13    accounting for 28 days’ opportunity to vote and file objections, seven days thereafter for the
 14    Debtor to file a confirmation brief, and seven days thereafter for a plan confirmation hearing.
 15    By that time, the Current Plan Exclusivity Periods will have expired.
 16           31.   The Debtor respectfully submits that good cause exists to extend the exclusivity
 17    period for the Debtor to file a plan of reorganization and obtain acceptance thereof to and
 18    including August 16, 2022 (the “Proposed Plan Exclusivity Period”), and to and including
 19    October 15, 2022 (the “Proposed Solicitation Exclusivity Period”), as requested in the Motion.
 20           32.   The Debtor represents that cause exists to extend the Plan Exclusivity Periods.
 21           33.   The Debtor represents that its case is not a “mega” case but is not small (regardless
 22    of whether the Debtor is eligible for subchapter V). The Debtor has approximately $20 million
 23    of general unsecured debt, and more than 200 creditors. Furthermore, the reorganization is
 24    complex because of multiple retail lease locations, ongoing operations, and non-traditional
 25    assets in the form of import bonds to investigate and liquidate for implementing the Plan.
 26    Moreover, the trajectory of the case was greatly complication by contested eligibility for
 27    subchapter V, which added uncertainty as which reorganization scheme would apply to this
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  1    estate. The Debtor is informed and believes that it requires extension of the Exclusivity Periods

  2    to fairly address these numerous issues.

  3            34.      After months of extensive negotiations with the largest non-insider general

  4    unsecured creditors in the case, the Debtor filed its Subchapter V Plan by the extended deadline

  5    of May 2, 2022, then worked diligently to reformulate that plan into the current Plan, filed on

  6    May 12, 2022 – both within the original 120-day Current Exclusivity Periods. However, the

  7    Debtor will need time to work on this Plan with input from an official committee of unsecured

  8    creditors, if and when formed (which is expected to happen shortly after the original Exclusivity

  9    Periods would end, if not extended by Court order).

 10            35.      The Debtor has properly administered its Chapter 11 case in that the Debtor has

 11    complied with all of the material requirements of the Bankruptcy code, the Federal Rules of

 12    Bankruptcy Procedure, and the UST. Under these circumstances, an extension of the exclusivity

 13    periods for filing and obtaining confirmation of a plan of reorganization can be granted with the

 14    confidence that the Debtor is in full compliance with the requirements that are a condition to the

 15    Debtor maintaining its exclusive right to file a plan of reorganization and gain acceptance

 16    thereof.

 17            36.      This is the Debtor’s first request to extend any of its plan exclusivity periods.

 18            37.      The Debtor’s request to extend the Current Exclusivity Periods is made in good

 19    faith, and the Debtor believes granting the relief requested in the Motion is in the best interest

 20    of the estate.

 21    Executed on this 17th day of May 2022, at Morristown, New Jersey.

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 24                                                            KEVIN WALSH
 25                                                            Declarant

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                                            Exhibit “1”
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  1   JOHN-PATRICK M. FRITZ (State Bar No. 245240)
      JONATHAN D. GOTTLIEB (State Bar No. 339650)
  2   LEVENE, NEALE, BENDER,
  3   YOO & GOLUBCHIK L.L.P.
      2818 La Cienega Avenue
  4   Los Angeles, California 90034
      Telephone: (310) 229-1234
  5   Facsimile: (310) 229-1244
      Email: JPF@LNBYG.COM; JDG@LNBYG.COM
  6

  7   Attorneys for Chapter 11
      Debtor and Debtor in Possession
  8
                              UNITED STATES BANKRUPTCY COURT
  9                            CENTRAL DISTRICT OF CALIFORNIA
                                    LOS ANGELES DIVISION
 10
      In re:                                            )   Case No.: 2:22-bk-10266-BB
 11                                                     )
      ESCADA AMERICA LLC,                               )   Chapter 11 Case
 12                                                     )
                 Debtor and Debtor in Possession.       )   ORDER EXTENDING THE DEBTOR’S
 13                                                         EXCLUSIVE PERIODS TO FILE A
                                                        )
                                                            CHAPTER 11 PLAN AND SOLICIT
 14                                                     )   ACCEPTANCES THEREOF
                                                        )
 15                                                     )   Hearing:
                                                        )   Date: June 15, 2022
 16                                                     )   Time: 10:00 a.m.
 17                                                     )   Place: Courtroom 1539
                                                        )          255 East Temple Street
 18                                                     )          Los Angeles, CA 90012
                                                        )
 19

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 21            On June 15, 2022, at 10:00 a.m., the Honorable Sheri Bluebond, United States
 22   Bankruptcy Judge for the Central District of California (the “Court”), held a hearing (the
 23   “Hearing”) in Courtroom 1539 of the United States Bankruptcy Courthouse located at 255 East
 24   Temple Street, Los Angeles, California, to consider the Debtor’s Notice of Motion and Motion
 25   for an Order Extending the Debtor’s Exclusive Periods to File a Chapter 11 Plan and Obtain
 26   Acceptances Thereof (the “Motion”) [ECF __], filed by Escada America LLC, a Delaware
 27   limited liability company (the “Debtor”), the debtor and debtor in possession in the above-
 28


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  1   captioned, chapter 11 bankruptcy case. Appearances were made as set forth on the Court’s
  2   record of the hearing.
  3          The Court, having read and considered the Motion and all papers in support of the
  4   Motion, including the declaration of Kevin Walsh (the “Declaration”) annexed to the Motion, the
  5   statements of counsel made orally at the hearing, the record in the case, the docket in the case, no
  6   opposition having been filed or received, and for good cause appearing, therefor,
  7          HEREBY FINDS that notice of the Motion and Hearing were good and proper under
  8   the circumstances and pursuant to the Bankruptcy Code, Federal Rules of Bankruptcy
  9   Procedure, and Local Bankruptcy Rules, and
 10          HEREBY ORDERS AS FOLLOWS:
 11          (1)     The Motion is granted on a final basis as set forth in this Order;
 12          (2)     The exclusivity period for the Debtor to file a chapter 11 plan is hereby extended
 13   to, and including, August 16, 2022, without prejudice to the Debtor’s right to request additional
 14   extensions; and
 15          (3)     The exclusivity period for the Debtor to obtain acceptance of a chapter 11 plan is
 16   extended to, and including, October 15, 2022, without prejudice to the Debtor’s right to request
 17   additional extensions.
 18          SO ORDERED.
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                                         PROOF OF SERVICE OF DOCUMENT
  1
       I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is 2818 La Cienega Avenue, Las Angeles, CA 90034

  3   A true and correct copy of the foregoing document entitled DEBTOR’S NOTICE OF AND MOTION FOR
       AN ORDER EXTENDING THE DEBTOR’S EXCLUSIVE PERIODS TO FILE A CHAPTER 11 PLAN
  4   AND OBTAIN ACCEPTANCES THEREOF; MEMORANDUM AND AUTHORITIES IN SUPPORT
       THEREOF; DECLARATION OF KEVIN WALSH IN SUPPORT THEREOF will be served or was served
  5   (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
       stated below:
  6
       1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  7   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
       hyperlink to the document. On May 16, 2022, I checked the CM/ECF docket for this bankruptcy case or
       adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
  8   receive NEF transmission at the email addresses stated below:
  9                                                              Service information continued on attached page
 10   2. SERVED BY UNITED STATES MAIL: On May 16, 2022, I served the following persons and/or entities
       at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct
 11   copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed
       as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no
 12   later than 24 hours after the document is filed.

 13       Service information continued on attached page

 14   The Honorable Sheri Bluebond
       United States Bankruptcy Court
 15   Central District of California
       Edward R. Roybal Federal Building and Courthouse
 16   255 E. Temple Street, Suite 1534 / Courtroom 1539
       Los Angeles, CA 90012
 17
       3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
 18   (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on May
       16, 2022, I served the following persons and/or entities by personal delivery, overnight mail service, or (for
 19   those who consented in writing to such service method), by facsimile transmission and/or email as follows.
       Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge
       will be completed no later than 24 hours after the document is filed.
 20
                                                                  Service information continued on attached page
 21
       I declare under penalty of perjury under the laws of the United States of America that the foregoing is
 22   true and correct.
 23     May 16, 2022              Jason Klassi                            /s/ Jason Klassi
         Date                            Type Name                         Signature
 24
 25
 26
 27
 28
       This form is mandatory.      It has been approved for use by the United States Bankruptcy Court for
                                         the Central District of California.
       June 2012
       F 9013 3 1 PROOF SERVICE
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  1   2:22-bk-10266-BB Notice will be electronically mailed to:

  2   Dustin P Branch on behalf of Creditor The Macerich Company
       branchd@ballardspahr.com, carolod@ballardspahr.com;hubenb@ballardspahr.com
  3
       John C Cannizzaro on behalf of Creditor 717 GFC LLC
  4   john.cannizzaro@icemiller.com, julia.yankula@icemiller.com

  5   Michael J Darlow on behalf of Creditor Harris County Municipal Utility District #358
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  6
       Caroline Djang on behalf of Interested Party Caroline R. Djang
  7   caroline.djang@bbklaw.com, laurie.verstegen@bbklaw.com;wilma.escalante@bbklaw.com

  8   Eryk R Escobar on behalf of U.S. Trustee United States Trustee (LA)
       eryk.r.escobar@usdoj.gov
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       John-Patrick M Fritz on behalf of Debtor Escada America, LLC
 10   jpf@lnbyg.com, JPF.LNBYB@ecf.inforuptcy.com

 11   William W Huckins on behalf of Creditor Brookfield Properties Retail, Inc.
       whuckins@allenmatkins.com, clynch@allenmatkins.com;igold@allenmatkins.com
 12
       William W Huckins on behalf of Creditor SIMON PROPERTY GROUP INC
 13   whuckins@allenmatkins.com, clynch@allenmatkins.com;igold@allenmatkins.com

 14   Gregory Kent Jones (TR)
       gjones@sycr.com, smjohnson@sycr.com;C191@ecfcbis.com;cpesis@stradlinglaw.com
 15
       Michael S Kogan on behalf of Creditor Michael Kogan Law Firm, APC
 16   mkogan@koganlawfirm.com

 17   Kristen N Pate on behalf of Creditor Brookfield Properties Retail, Inc.
       ggpbk@ggp.com
 18
       Lindsey L Smith on behalf of Debtor Escada America, LLC
 19   lls@lnbyg.com, lls@ecf.inforuptcy.com

 20   Ronald M Tucker, Esq on behalf of Creditor SIMON PROPERTY GROUP INC
       rtucker@simon.com, cmartin@simon.com;psummers@simon.com;Bankruptcy@simon.com
 21
       United States Trustee (LA)
 22   ustpregion16.la.ecf@usdoj.gov

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       June 2012
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         Escada 9277                         Securities Exchange                Securities Exchange Commission
  1     20 Largest, Secured and RSN         Commission                         5670 Wilshire Boulevard, 11th Floor
                                             450 5th Street, NW                 Los Angeles, CA 90036
  2                                         Washington, DC 20549

  3
         717 GFC LLC                         Beverly Hills Wilshire Hotel       Worth-Pondfield LLC
  4     Attn: Mrs.Tsui Yeung                9500 WILSHIRE BLVD                 c/o SAMSON MANAGEMENT CORP.
         500 5th Avenue 54th Floor           BEVERLY HILLS, CA 90212            Attn.: Kathy Panaro
  5     New York City, NY 10110                                                97-77 QUEENS BLVD, SUITE 710
                                                                                REGO PARK, NY 11374
  6
         Chicago Oak Street Partners,        Alliant Insurance Services, Inc.   SPG HOUSTON HOLDINGS,LP
  7     LLC                                 701 B St 6th Floor                 PO Box 822693
         Attn: Lesley Pembroke               San Diego, CA 92101                PHILADELPHIA, PA 19182-2693
  8     1343 N. Wells Street, Rear Bldg.
         Chicago, IL 60610
  9
         Las Vegas North Outlets, LLC        Ala Moana Anchor Acquisition,      CHETRIT 1412 LLC
 10     Attn: Marie Wood                    LLC                                Attn: Nativ Winiarsky
         875 South Grand Central             Attn: Lisa Gordon                  PO Box 785000
 11     Parkway, #1                         PO Box 860375                      PHILADELPHIA, PA 10018
         Las Vegas, NV 89106                 Minneapolis, MN 55486-0074
 12
         Syzygy Performance GmbH             Scottsdale Fashion Square LLC      Woodbury Common Premium Outlets
 13     Osterwaldstra e 10                  Attn: Tamara Ortega                Attn: Marie Wood
         Munchen, Germany 80805-0000         PO Box 31001-2156                  PO Box 822884
 14                                         Pasadena, CA 91110-2156            Philadelphia, PA 19182-2884

 15
         Premium Outlet Partners LP          Bal Harbour Shops LLLP             METROPOLITAN TELECOMM.
 16     Attn: Leslie C. Traylor             Attn: Lorena Dehogues              PO Box 9660
         PO Box 822873                       9700 Collins Avenue                MANCHESTER, NH 03108-9660
 17     Philadelphia, PA 19182-2873         Bal Harbour, FL 33154

 18
         AMERICAN EXPRESS                    Johnson Controls Security          Simon Property Group LP
 19     PO Box 1270                         Solutions                          2696 Solution Center
         NEWARK, NJ 07101-1270               Attn: Virgil Guerra                Chicago, IL 60677-2006
 20                                         PO Box 371994
                                             Pittsburgh, PA 15250-7994
 21
         Cushman and Wakefield               Funaro & co., P.C.                 Sawgrass Mills Phase IV, L.L.C.
 22     Attn: Kaleb McCullough              Attn: Joseph M. Catalano           c/o M.S. Management Associates Inc.,
         1290 Avenue of the Americas         350 Fifth Avenue, 41st Fl          225 W Washington St,
 23     New York, NY 10104                  New York, NY 10118                 Indianapolis, IN 46204

 24
 25    RSN                                  RSN
        Dustin P. Branch, Esq., Jessica      Simon Property Group, Inc.
 26    M. Simon, Esq.                       Attn: Ronald M. Tucker, Esq.
        Nahal Zarnighian, Esq.               225 West Washington Street
 27    BALLARD SPAHR LLP                    Indianapolis, Indiana 46204

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  1        Secured                             Secured                         Secured
            Eden Roc International, LLC         Escada Sourcing and             Mega International, LLC
  2        9720 Wilshire Blvd. 6th Floor       Production LLC                  9720 Wilshire Blvd. 6th Floor
            Beverly Hills, CA 90212             9720 Wilshire Blvd. 6th Floor   Beverly Hills, CA 90212
  3                                            Beverly Hills, CA 90212

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